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1 Honorabie 'Robert 5. Lasnik
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5 UNlTED STATES DISTRICT COURT
6 WESTERN DiSTRiCT OF WASHINGTON AT SEATTLE
7
8
9 Defendant Civii Action No. 17~CV-1077R$L
10 Jeremy Reeves -
11
12 ME2 PRODUCT|ONS, iNC
13 (Piaintiff) David Lowe Deciaration to the Court
14 By Jeremy Reeves
15 V.
16
17 ROBERT KAR|UKI;
18 GARY VONERiCHSEN;
19 iOSEPH DELACRUZ;
20 JOSUAH HANCOCK;
21 *JEREM\' REEVES; and
22 PHYL|S KiHUYU,
23 (Defendants)
24
25 The court set forth a mandatory date for FCRPZS(f) conference This was to be met by Novomb¢r$&* ‘
26 2017. At this time l have not heard from the Plaintiff for some time. Even though it is the Plaintiffsiawsuit and
27 thus his responsibility to put forth the effort to contact me ( l have provided him 3 points oi‘reiiabie conwct)
28 he has put forth no effort to contact me and discuss the points outlined in FCRPZS(f). To mitigate his
29 stagnation i attempted to contact Plaintiff David Lowe muitipie times through e~maii (l have retained“ihese br
30 the courts demand of reference) and by phone. l have called his office and his secretary told me he was not
31 avaiable. Plaintiff never returned the call or message l left with his secretary. l believe the Piaintiifs actions are
32 due to the fact his claims are baseless and his entire lawsuit is a mass copy and paste effort. in daling’with
33 me, the P|aintiff has run out of false arguments and false data to continually copy and paste.

 
 

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v z é/,~
Declaration to the Court by

leremy Reeves a smaaomasow~ms y
mmzmom
CiviiAction No. 17-cv~1077RSL ~ '

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The court set forth a mandatory date for FRCPZS(a)(l) For December 7‘* 2017. At this time l do not
believe those objectives and timelines will be met. l can not read what FRCFZS(&)U) states because~lt only says
”Reserved" y

l am dedicated and seeking to meet the timelines and demands set forth by the court and its
Honorable judges

l strive to live and abide by, more and more every day, the rules set forth in the RTC MAXlM, Navai
Training Center, Great takes 2007. "l will not lle, cheat, or steal, nor will l tolerate those among us that do.""

u.s.N. 2007-2013 (sto 2"" ciass).

Declaration to the Court by
Jeremy Reeves

 

Ci‘vil Action No. 17-Cv~1077RSL

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Honorable Rohert S. l.asnilc

UNlTED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF WASHlNGTON AT SEA'¥TLE

Defendant ~ ' Clvil Actb)n No. 17~CV-107`IRSL
leremy lieeves

Certificate of Service
l certify that a true and correct copy of the foregoing document has been served to all counselor parties of
record.

Lowe Graham Jones
710 fifth avenue, suite 4800
Seattle, Washington 98104

Clerk of the Court

united States District Court for the Westem District of Washington
700 Stewart Street
Seattle, WA 98101

Declaration to the Court by
leremy Reeves

 

Civil Actlon No. 17-Cv~1077RSL

 

 

